                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

RICKY MATLOCK, et al.,                              )
                                                    )
     Plaintiffs,                                    )
                                                    )
v.                                                  )        NO. 3:18-cv-00047
                                                    )
ROUNDPOINT MORTGAGE                                 )        JUDGE CAMPBELL
SERVICING CORPORATION, et al.,                      )        MAGISTRATE JUDGE NEWBERN
                                                    )
      Defendants.                                   )

                                                ORDER

         This case is set for trial on May 11, 2021. Pending before the Court are Defendant’s

Motions in Limine (Doc. No. 135) and Objections to Plaintiffs’ Deposition Designations (Doc. No.

145). The Court held a pretrial conference on May 3, 2021. For the reasons stated on the record,

the Court rules on Defendant’s Motions in Limine and objections as follows:

         1.        Defendant’s Motion in Limine regarding the Great American Insurance Policy

(“Lender-Placed Insurance Policy”) is DENIED. Defendant is expected to make contemporaneous

objections at trial to the evidence it considers to be inadmissible under applicable rules.

         2.        Defendant’s Motion in Limine regarding its letter responding to notice of error by

Plaintiffs is DENIED. Defendant is expected to make contemporaneous objections at trial to the

evidence it considers to be inadmissible under applicable rules.

         3.        Defendant’s Motion in Limine regarding testimony as to the ultimate issue of

compliance with RESPA and Regulation X is DENIED.

         4.        Defendant’s Motion in Limine regarding testimony of its corporate representative

regarding State Farm’s willingness to cooperate with it is DENIED.




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       5.      Defendant’s Motion in Limine regarding LoanCare’s policies and procedures and

servicing agreement is DENIED.

       6.      Defendant’s Motion in Limine regarding testimony of LoanCare’s corporate

representative regarding knowledge of RoundPoint’s system is DENIED.

       7.      Defendant’s Motion in Limine regarding records of servicers other than itself that

do not reference or concern it is DENIED. Defendant is expected to make contemporaneous

objections at trial to the evidence it considers to be inadmissible under applicable rules.

       8.      Defendant’s Motion in Limine regarding its interrogatory response stating that it

sent faxes to State Farm is DENIED. Defendant is expected to make contemporaneous objections

at trial to the evidence she considers to be inadmissible under applicable rules.

       9.      Defendant’s Motion in Limine regarding exhibits not disclosed during discovery is

GRANTED.

       10.     Defendant’s Motion in Limine regarding prior lawsuits against it is GRANTED.

       11.     Defendant’s Motion in Limine regarding offers of compromise or settlement is

GRANTED.

       12.     Defendant’s Motion in Limine regarding evidence of its wealth or financial

condition is GRANTED.

       13.     Defendant’s Motion in Limine regarding records and documents not properly

authenticated and for which a foundation is not properly laid is DENIED. Defendant is expected

to make contemporaneous objections at trial to the evidence she considers to be inadmissible under

applicable rules.

       14.     Defendant’s Motion in Limine regarding improper testimony by lay witnesses is

DENIED.



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       15.     Defendant’s Motion in Limine regarding undisclosed expert opinions is

GRANTED.

       16.     Defendant’s Motion in Limine regarding failure to call any witnesses is DENIED.

The Court will address this issue in the jury instructions.

       17.     Defendant’s Motion in Limine regarding hearsay is GRANTED.

       18.     Defendant’s Objections to Plaintiffs’ Deposition Designations (Doc. No. 145) are

DENIED.

       It is so ORDERED.

                                                          ________________________________
                                                          WILLIAM L. CAMPBELL, JR.
                                                          UNITED STATES DISTRICT JUDGE




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